         Case 5:19-cv-02136-JGB-KK Document 4 Filed 11/06/19 Page 1 of 1 Page ID #:14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

         JAMES RUTHERFORD,, an individual,                            )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
     RANCHO LK LLC, a California limited liability                    )
        company; and DOES 1-10, inclusive,                            )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RANCHO LK LLC, a California limited liability company
                                           Jeffrey Sedacca- Agent for Service
                                           11661 San Vicente Blvd, Ste 609
                                           Los Angeles CA 90049




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           CM/ECF Electronic Filing (c/o Manning Law, APC)
                                           Joseph R. Manning, Jr.
                                           20062 SW Birch Street, Ste. 200
                                           Newport Beach, CA 92660
                                           DisabilityRights@manninglawoffice.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
